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11                             UNITED STATES DISTRICT COURT
12         NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
13

14 NEUTAH OPIOTENNIONE,                           Case No. 3:19-cv-07185-JSC
15                Plaintiff,
                                                  DEFENDANT FACEBOOK, INC.’S
16         vs.                                    NOTICE OF MOTION TO DISMISS
                                                  PLAINTIFF’S FIRST AMENDED
17 FACEBOOK, INC.,                                COMPLAINT; MEMORANDUM OF
                                                  POINTS AND AUTHORITIES IN
18                Defendant.                      SUPPORT
19
                                                  Judge: Hon. Jacqueline S. Corley
20                                                Date: July 16, 2020
                                                  Time: 9:00 AM
21                                                Crtrm.: E
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 1          PLEASE TAKE NOTICE that on July 16, 2020, at 9:00 am, before the Honorable

 2 Jacqueline Scott Corley, in Courtroom E on the 15th floor of the above-entitled Court, Defendant

 3 Facebook, Inc. (“Facebook”) will and does move to dismiss Plaintiff’s First Amended Complaint

 4 (“FAC”) pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6) based on the Notice

 5 of Motion and Motion, the Memorandum of Points and Authorities, all pleadings and papers on

 6 file, and such other matters as may be presented to this Court.

 7 I.       INTRODUCTION
 8          Defendant Facebook, Inc. (“Facebook”) operates an online platform that enables people to

 9 stay connected with friends and family, to discover what is going on in the world, and to share and

10 express what matters to them. Facebook provides this service to users free of charge and

11 generates revenue from ads placed by third-party advertisers on the platform.

12          Advertising, whether through traditional or digital media, is about reaching people who are

13 interested in a product or service. Advertisers must therefore make decisions about how to reach

14 the most interested audience across different media. For example, women’s clothing designers

15 might advertise in Vogue, during daytime talk shows, and on fashion blogs, but not in Sports

16 Illustrated, during Monday Night Football, or on fantasy football websites. Manufacturers of

17 arthritis drugs might advertise in AARP Magazine, during the nightly news, and on golf websites,

18 but not in Teen Vogue, during cartoons, or on the Candy Crush app.
19          Advertising on Facebook is no different. Facebook provides a general use platform that

20 advertisers can use to create ads for all types of products and services. Audience selection tools

21 allow, but do not require, advertisers to select audiences for their ads based on user interests and

22 certain profile information. Facebook then shows those ads to users within the advertisers’

23 selected audiences, using an algorithm that determines which of the millions of ads that could be

24 delivered to a particular user’s News Feed are likely to be most interesting to that user.

25          Plaintiff claims, without any factual support, that she has “regularly” been denied the

26 opportunity to learn about and obtain some financial services because some advertisers placing ads

27 for financial services on Facebook have used audience selection tools to exclude women and/or

28 older people, and the ad delivery algorithm has not shown some financial services ads in her News


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 1 Feed because of her age and gender. As an initial matter, Plaintiff identifies a handful of ads for

 2 financial services, none of which she alleges she was interested in pursuing, and no facts

 3 whatsoever showing that these ads allegedly were not shown in her News Feed because of the

 4 challenged practices. And Plaintiff’s claim that she was denied the opportunity to learn about, let

 5 alone obtain, these or other unidentified financial services because she did not receive ads for them

 6 on Facebook is implausible. Facebook is only one of many types of media advertisers use in their

 7 campaigns, and Plaintiff does not allege that these or any other financial services were advertised

 8 only on Facebook. In any event, Facebook posts all active ads in its Ad Library, which any user

 9 can access and search, regardless of whether the ads were shown in their News Feeds.

10          Plaintiff’s claims also rely on a “but for” world that does not exist. Plaintiff does not, and

11 cannot, allege facts showing that she would have received more financial services ads in her News

12 Feed if advertisers had not excluded her from their audience selections. Space in News Feeds is

13 limited because it depends on how often and how far users scroll. At any given moment, there are

14 millions of ads and other types of content, such as posts from friends and family, competing for

15 this limited space, which means that only a fraction of all content, including ads, that could be

16 shown in user News Feeds actually is shown. As a result, there is no basis to conclude that more

17 financial services ads, as opposed other content, would have been shown in Plaintiff’s News Feed,

18 even if financial services advertisers had included her in their audience selections.
19          With respect to the ad delivery algorithm, Plaintiff also does not, and cannot, allege facts

20 showing that the algorithm discriminates against women and older people in delivering financial

21 services ads or that she would have received more financial services ads if the ad delivery

22 algorithm worked differently. Indeed, her own allegations contradict these claims. Plaintiff

23 alleges that the purpose of the algorithm, as in all advertising, is to show ads to users based on

24 determinations as which ads will be most interesting to them. Taking Plaintiff’s claim that she

25 was interested in receiving more financial services ads at face value, the only plausible inference

26 from these allegations is that the algorithm determined that other ads would be more interesting to

27 Plaintiff—not that, despite her interest in financial services ads, those ads should not be shown in

28 her News Feed.


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 1          At bottom, all of Plaintiff’s claims attempt to impose liability on Facebook for harm

 2 allegedly caused by discriminatory conduct, but Plaintiff does not allege any facts showing that

 3 she actually suffered harm, let alone as a result of discriminatory conduct by Facebook. Plaintiff’s

 4 claims should be dismissed on multiple independent grounds.

 5          First, Plaintiff fails to establish Article III standing and standing to pursue state law claims

 6 because she does not identify any financial services ad for which she alleges facts showing that the

 7 ad was not shown in her News Feed because an advertiser excluded women and/or older people

 8 from the audience or because of the ad delivery algorithm. Even if Plaintiff could allege such

 9 facts for any of the ads she does identify, which she cannot, she also does not allege that she was

10 interested in pursuing, let alone qualified to obtain, the advertised financial services.

11          Second, all of Plaintiff’s claims are barred by the Communications Decency Act, 47 U.S.C.

12 § 230 (“CDA”), because they seek to impose liability on Facebook as a “publisher” of third-party

13 content. Binding Ninth Circuit authority makes clear that Facebook’s provision of neutral tools

14 does not render Facebook a developer of third-party content, and that a website that selects which

15 third-party content to display and when is “acting as a publisher” under the CDA. Dyroff v.

16 Ultimate Software Grp., Inc., 934 F.3d 1093, 1098 (9th Cir. 2019).

17          Third, Plaintiff fails to state any claim under California law. The Unruh Act and § 51.5

18 apply only in California. Plaintiff is a D.C. resident, which alone requires dismissal of her claims.
19 Even if this Court were to be the first to apply these laws outside of California, Plaintiff does not,

20 and cannot, allege any facts showing any discriminatory intent or conduct by Facebook or any

21 basis for liability for aiding and abetting discriminatory intent or conduct by advertisers.

22          Fourth, Plaintiff fails to state any claim under D.C. law. Plaintiff agreed that California

23 law would apply to any dispute she might have with Facebook, which alone requires dismissal of

24 her D.C. law claims. Even if D.C. law could apply, Plaintiff fails to state a claim under D.C.’s

25 Human Rights Act (“DCHRA”) because that law does not apply to companies outside of D.C. and

26 Plaintiff does not identify any ad that “indicates” an unlawful preference. Plaintiff also fails to

27 state a claim under D.C.’s Consumer Protections and Procedures Act (“DCCPPA”) because she

28 fails to establish any unfair trade practice or predicate violation of D.C. law by Facebook.


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 1 II.      BACKGROUND
 2          Facebook operates an online platform that “enables people to connect, share, discover, and

 3 communicate with each other on mobile devices and personal computers,” including through

 4 “News Feed, Stories, Marketplace, and Watch.” First Amended Complaint (“FAC”) ¶ 18.

 5 Facebook generates revenue from “sell[ing] advertising to companies who pay Facebook to place

 6 their advertisements on users’ News Feeds on Facebook, as well as on Instagram and Messenger.”

 7 Id. ¶ 19. Advertisers use Facebook’s platform to create ads for all types of products and services,

 8 including “financial services, such as mortgages, personal loans, bank accounts, insurance,

 9 investment opportunities, and financial consulting services.” Id. ¶ 1.

10          Plaintiff alleges that she “was interested in receiving [financial services ads] on News Feed

11 on Facebook,” id. ¶ 91, and claims, without factual support, that she has “regularly” been denied

12 such ads because some advertisers placing financial services ads on Facebook have used audience

13 selection tools to exclude women and older people, and the ad delivery algorithm has not

14 delivered some financial services ads in her News Feed because of her age and gender.

15          A.     Advertisers Select Audiences Using Neutral, Self-Serve Tools
16          Advertisers on Facebook select audiences for their ads using self-serve tools. Among the

17 tools that advertisers may, but are not required to, use in selecting audiences are age and gender

18 tools and the Lookalike Audience tool (“LAL”). Plaintiff alleges that these advertiser selections
19 “target [a group] of Facebook users who will be eligible to receive the [ad] (‘audience selection’).”

20 FAC ¶ 33. As Plaintiff alleges, age and gender tools have default settings of all ages and all

21 genders, respectively, which only change if advertisers select different options using drop-down

22 menus or buttons. Id. ¶¶ 39, 40. For LAL, Plaintiff alleges that “advertisers provide Facebook

23 with a list of Facebook users whom they believe are the type of customers they want to reach (i.e.,

24 the seed audience), and then Facebook applies its own analysis and algorithm to identify a larger

25 audience that resembles the seed audience (i.e., the Lookalike Audience).” Id. ¶ 56. According to

26 Plaintiff, “when an advertiser provides a seed audience that is disproportionately male or younger,

27 [] the Lookalike Audience that Facebook creates to determine the audience selection will likewise

28 be disproportionately male or younger. Id. ¶ 58 (emphasis added).


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 1           Plaintiff claims, without factual support, that advertisers placing ads for financial services

 2 on Facebook have “routinely” used these audience selection tools to exclude women and older

 3 people which have “regularly denied” her the opportunity to receive such ads. Id. ¶ 91. But

 4 Plaintiff also admits that these tools are available to all advertisers placing ads for all types of

 5 products and services, which means that these same tools are used to advertise women’s handbags

 6 to women, men’s athletics shoes to men, arthritis drugs to older people, and video games to

 7 younger people. As such, these tools are “neutral tools,” and, as Plaintiff admits, it is advertisers,

 8 not Facebook, who decide whether and how to use them. Id. ¶¶ 39, 40, 58.

 9           Still, Plaintiff attempts to attribute any allegedly discriminatory use of audience selection

10 tools by third-party advertisers to Facebook by claiming that Facebook “strongly encourages

11 advertisers” to exclude women and/or older people from audience selections based on misleading

12 quotes from Facebook’s website. Id. ¶¶ 35, 37, 40. As explained below, these quotes provide no

13 support for Plaintiff’s baseless and illogical claim that Facebook encourages advertisers to misuse

14 audience selection tools in violation of its own antidiscrimination policies.

15           Facebook provides guidelines about what type of ad content is allowed on its ad platform

16 and makes clear that discrimination, including through use of audience selection tools, is strictly

17 prohibited. Declaration of Rosemarie T. Ring (“Ring Decl.”), Exhibits A and B (advertising

18 policies). 1 Last year, Facebook also made industry-leading changes to its ad platform to help
19 prevent the potential misuse of audience selection tools by advertisers placing certain types of

20 ads—housing, employment, and credit (“HEC”)—as part of the settlement of another action

21 brought in this District by Plaintiff’s counsel.

22           In that action, Plaintiff’s counsel argued that, simply by providing tools on its platform that

23 some HEC advertisers might use to create some HEC ads in ways they claim are discriminatory,

24 Facebook is liable for any such third-party conduct, even though the tools are available to all

25 advertisers placing ads for all types of products and services. Judge Davila issued an order staying

26 discovery in the action, after Facebook filed a motion to dismiss asserting the same defenses it

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28    The exhibits attached to the Ring Decl. may be considered for the reasons explained in
     Facebook’s Request for Incorporation by Reference, filed concurrently herewith.

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 1 does here. The parties settled the case last year with Facebook agreeing to, among other things,

 2 create a separate flow on its general use platform for HEC ads that restricts the use of certain

 3 audience selection tools, including the age and gender tools at issue here. Id. ¶¶ 36, 56.

 4          In this new action, Plaintiff’s counsel is pursuing the same theory of liability with respect

 5 to audience selection tools, except they have shifted their focus from HEC ads to ads for financial

 6 services which they define to include mortgages and personal loans, even though they know those

 7 and other credit-related financial services were included in the changes Facebook made last year.

 8 Those changes have already been implemented, so the age and gender tools are no longer available

 9 for use with those ads.

10          B.     Facebook Delivers Ads Using An Algorithm
11          Plaintiff alleges that Facebook uses “an [ad delivery] algorithm to determine which users

12 within a particular audience selection will receive advertisements, including financial services

13 advertisements.” Id. ¶ 64. Plaintiff further alleges that the algorithm “uses many types of data,”

14 id., including, upon information and belief, “the age and gender of Facebook users,” id. ¶ 65.

15 According to Plaintiff, “[t]he purpose of [the] algorithm is to optimize an [ad’s] audience and the

16 advertiser’s goals by showing the [ad] preferentially to the users Facebook believes will maximize

17 Awareness, Consideration, or Conversion scores for the advertisement.” Id. ¶ 64. Plaintiff

18 explains that maximizing Awareness, Consideration, or Conversion means showing ads to users
19 who will, respectively, view them, click and engage with them, or purchase the product or service

20 being advertised. Id. In other words, Plaintiff alleges that Facebook’s ad delivery algorithm

21 shows ads to Facebook users that are most likely to be interested in them.

22          According to Plaintiff, Facebook “causes, knows that, wants, and intends for the

23 advertisements only to be sent disproportionately to persons who fall into the age and gender

24 demographic profile that Facebook’s algorithm believes is the most relevant audience for the

25 advertisement.” Id. ¶ 68. But Plaintiff does not allege that Facebook’s algorithm “believes”

26 (much less, intentionally determines) that the “most relevant audience” for a financial services ad

27 is made up of men and younger people, as opposed to users who are interested in the ad. Id. ¶ 64.

28 Plaintiff does not make that allegation because she cannot.


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 1          C.      Plaintiff Did Not Receive Certain Financial Services Ads In Her News Feed
 2          Plaintiff identifies seven financial services ads that she claims were not shown in her News

 3 Feed on Facebook. Id. ¶¶ 73-76; ¶¶ 108-109. She does not allege that she did not, or was unable

 4 to, view these ads through other Facebook features (e.g., Pages, Marketplace, Ad Library where

 5 users can access and search all active ads on Facebook), other Facebook products (e.g., Instagram,

 6 Messenger), or other advertising media (e.g., Google, television, magazines). As discussed below,

 7 Plaintiff admits that neither the LAL tool nor the ad delivery algorithm could have played any role

 8 in these ads not being shown in her News Feed. And with respect to audience selection tools, she

 9 does not, and cannot, allege facts showing that any of these ads were not shown in her News Feed

10 because advertisers used them in ways she claims are discriminatory.

11          Based on these neutral audience selection tools and ad delivery algorithm, Plaintiff asserts

12 claims against Facebook under California’s Unruh Act and § 51.5, and, alternatively, the District

13 of Columbia’s Human Rights Act (“DCHRA”) and the District of Columbia’s Consumer

14 Protections and Procedures Act (“DCCPPA”).

15 III.     ARGUMENT
16          A.     Plaintiff Lacks Article III and Statutory Standing
            To establish Article III standing, Plaintiff must “clearly … allege facts demonstrating each
17

18 [of the following] element[s]”: (1) “an injury in fact, (2) that is fairly traceable to the challenged
19 conduct of the defendant, and (3) that is likely to be redressed by a favorable judicial decision.”

20 Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (quoting Lujan v. Defenders of Wildlife, 504

21 U.S. 555, 560-61 (1992)). For both the Unruh Act and § 51.5, Plaintiff must allege facts showing

22 that she “actually suffer[ed] the discriminatory conduct” being challenged. Angelucci v. Century

23 Supper Club, 41 Cal. 4th 160, 165 (2007). With respect to Plaintiff’s D.C. law claims, “standing

24 under the DCHRA is co-extensive with Article III standing,” Bourbeau v. Jonathan Woodner Co.,

25 549 F. Supp. 2d 78, 84 (D.D.C. 2008), and, under the DCCPPA, Plaintiff must allege facts

26 showing that she “has suffered damage as a result of the unlawful trade practice” to establish

27 standing. Jackson v. ASA Holdings, 751 F. Supp. 2d 91, 99 (D.D.C. 2010).

28


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 1          Plaintiff lacks Article III standing and standing to pursue her state law claims because her

 2 allegations establish that neither the LAL tool nor ad delivery algorithm played in any role in the

 3 financial services ads she identifies not being shown in her News Feed, and does not allege any

 4 facts showing that any of those ads would have been shown in her News Feed if advertisers had

 5 not used neutral audience selection tools in ways she claims are discriminatory.

 6                  1.      Plaintiff Does Not Have Standing to Pursue Claims Based On the
                            LAL Tool Or Ad Delivery Algorithm
 7
            Plaintiff identifies seven financial services ads which she alleges (1) advertisers targeted to
 8
     exclude women and/or older people using the age and gender tools, and (2) were not shown in her
 9
     News Feed. See FAC ¶ 73 (“Webull sent [ad] … only to ‘men ages 20 and older’”); id. ¶ 74
10
     (“Partbnb sent [ad] … only to ‘men ages 30 to 50’”); id. ¶ 75 (“Ladder sent [ad]… only to ‘people
11
     ages 25 to 45’”); id. ¶ 76 (“AAFMAA sent [ad] … only to ‘people ages 24 to 40’”); id. ¶ 108 (“the
12
     [ad] was only sent to ‘people ages 25 to 44’”); id. ¶ 109 ([ads] were “only sent to ‘males, ages 20
13
     to 50,’ … and ‘people, ages 19 to 44’”). Even assuming these ads were not shown in Plaintiff’s
14
     News Feed, Plaintiff’s allegations establish that neither the LAL tool nor the ad delivery algorithm
15
     could have been the reason. Plaintiff admits that the LAL tool is subject to audience selections
16
     made using the age and gender tools, id. ¶ 61, and that the algorithm only makes delivery
17
     decisions within audience selections of advertisers and cannot show ads outside of those
18
     selections, id. ¶ 66 (“If an advertiser excludes all women from its audience selection, the ad
19
     delivery algorithm cannot compound the level of gender discrimination, because all women will
20
     automatically be excluded from receiving that ad.”); see also id. ¶¶ 30, 33, 96 (Facebook’s
21
     algorithm “determine[s] which users within a particular audience selection” receive
22
     ads). Accordingly, Plaintiff does not allege facts showing any injury in fact that is fairly traceable
23
     to the LAL tool or ad delivery algorithm, or that she has actually suffered any injury caused by the
24
     LAL tool or ad delivery algorithm, and therefore lacks Article III standing and standing to pursue
25
     any state law claim based on the LAL tool or ad delivery algorithm.
26

27

28


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 1                  2.     Plaintiff Does Not Have Standing To Pursue Claims Based On
                           Audience Selection Tools
 2
            With respect to her remaining claims based on Facebook’s provision of age and gender
 3 audience selection tools, Plaintiff does not allege facts showing any injury in fact that is traceable

 4 to Facebook to demonstrate Article III standing, or that she has actually suffered any injury caused

 5 by these tools to have standing to pursue any of her state law claims.

 6        To show Article III injury, a plaintiff must allege facts showing that, as a result of the
 7 challenged conduct, she has “suffered ‘an invasion of a legally protected interest’ that is ‘concrete

 8 and particularized’ and ‘actual or imminent, not conjectural or hypothetical.’” Spokeo, 136 S. Ct.

 9
     at 1548. Judge Freeman of this Court recently dismissed age discrimination claims based on the
10 same age tool and theories of harm at issue here. See Bradley, et al. v. T-Mobile US, Inc., et al.,

11 No. 17-CV-07232-BLF, 2020 WL 1233924 (N.D. Cal. Mar. 13, 2020). In Bradley, the plaintiffs

12 (who are also represented by Plaintiff’s counsel) alleged that the defendants, T-Mobile and

13 Amazon, used the age tool at issue in this case to “routinely exclude older individuals from

14 viewing the employment ads they post on Facebook,” in violation of state and federal laws,

15 including the Unruh Act. Id. at *1.

16          The Bradley plaintiffs alleged that they “were qualified to perform one or more jobs at
17 each of the Defendants that was offered during the time period at issue, [] that they would have

18 pursued those specific job opportunities. . . [and] that the Facebook ads for these jobs were subject
19 to age restrictions and that, as a result, the [plaintiffs] did not receive the ads and did not learn

20 about the jobs.” Id. at *10 (internal quotations omitted). They also identified a handful of specific

21 ads for jobs they alleged they “would have pursued” had they received those ads. Id. Based on

22 these allegations, Plaintiffs asserted four theories of harm, all of which Judge Freeman rejected as

23 insufficient to establish Article III standing for reasons that dictate the same result here.

24
           Economic Harm. The Bradley court rejected the plaintiffs’ theory of economic harm
25 based on “lost wages due to losing out on jobs ‘they would have pursued and obtained’ had they

26 seen the age-restricted ads,” because, even though they claimed that they “would have pursued”

27 some of the advertised jobs, they did not allege facts showing “they would have applied for and

28 received the jobs if they had seen the ads in question.” Id. at *8. Here, Plaintiff fails to allege any


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 1 economic harm because she does not even allege that she “would have pursued” any specific

 2 financial services, let alone that she would have applied for and received such services.

 3          Denial of Information. The Bradley court rejected the theory that the plaintiffs had been
 4 denied “information about jobs that the law requires them to receive on an equal basis,” because

 5 the plaintiffs “did not seek employment information from Defendants.” Id. Here, Plaintiff

 6 likewise does not allege that she requested financial services ads from Facebook. Further, as

 7 noted above, Facebook has made all active ads available to review through the Ads Library.

 8          Lost Opportunities. The Bradley court rejected the theory that the plaintiffs had been
 9 denied “the opportunity to apply for jobs because of their age” because the plaintiffs had “not

10 adequately alleged that they personally have experienced such injuries.” Id. at *8-9. Judge

11 Freeman held that, to establish Article III standing, the plaintiffs had to identify ads for specific

12 jobs and allege that they were qualified for those jobs, that they would have pursued those jobs,

13 that the ads were subject to age restrictions and that, as a result of those age restrictions, the

14 plaintiffs did not receive the ads and did not learn about the jobs. Id. at *10. The “fatal failing” of

15 the complaint in Bradley was that it relied on general allegations of lost job opportunities and did

16 “not identify—even by way of example—a single job for which these allegations are true.” Id.

17          Here, the FAC suffers from the same “fatal” flaws. Plaintiff identifies seven specific ads

18 for financial services, but does not come close to showing that she has “personally [] experienced”
19 harm sufficient to establish Article III standing, which requires her to allege facts showing that she

20 was qualified for the financial services being advertised, that she would have pursued them, that

21 she was excluded from the selected audience for the ads, and that, as a result, she “did not receive

22 the ads and did not learn about the [financial services].” Id. Plaintiff alleges only that she “would

23 have been interested in receiving [the ad] in order to consider pursuing the opportunity,” and only

24 for three of the seven ads. FAC ¶¶ 108-109 (emphasis added). That is not sufficient.

25          Stigmatic Injury. Finally, the Bradley court rejected the theory that the plaintiffs suffered
26 “stigmatic injury,” holding that it is derivative of the lost opportunity theory and therefore the

27 plaintiffs could “only establish stigmatic injury to the extent [they could] establish the denial of

28 the opportunity.” 2020 WL 1233924, at *11. The court concluded that, “[h]aving failed to show


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 1 that the [plaintiffs] were denied the opportunity to apply for jobs in which they were interested and

 2 for which they were qualified, [p]laintiffs also have not shown that they were stigmatized by that

 3 denial.” Id. The same reasoning and conclusion apply here.

 4          As in Bradley, Plaintiff fails to allege facts sufficient to show any injury-in-fact necessary

 5 to establish Article III standing or that she “actually suffer[ed] the discriminatory conduct” as

 6 required to have standing under the Unruh Act and § 51.5. Angelucci, 41 Cal. 4th at 165.

 7          Plaintiff also does not allege any injury that is “fairly traceable” to conduct by Facebook.

 8 Spokeo, 136 S. Ct. at 1547. To establish traceability, a plaintiff must allege facts showing that her

 9 injury results from “the challenged action of the defendant,” Lujan, 504 U.S. at 560, or, if based

10 on third-party conduct, facts showing that the defendant’s actions had a “determinative or coercive

11 effect” on the third party’s actions, Bennett v. Spear, 520 U.S. 154, 169 (1997); Levine v. Vilsack,

12 587 F.3d 986, 995 (9th Cir. 2009). First, Plaintiff’s allegations that advertisers changed the all

13 ages and all genders default settings to exclude her from the audience for financial services ads is

14 not conduct traceable to Facebook. See, e.g., FAC ¶¶ 73-76 (citing examples of ads where

15 advertisers “sent” them only to men or to younger people). And nothing in the materials Plaintiff

16 selectively and misleadingly quotes from Facebook’s website come close to having a

17 “determinative or coercive effect” on that alleged conduct by advertisers.

18          Second, Plaintiff does not allege facts supporting a plausible inference that, if advertisers

19 had not used the age and gender tools to exclude her from the audience for the seven financial

20 services ads she identifies, she would have received the ads in her News Feed. Given the millions

21 of active ads that compete to be delivered to the News Feeds of Facebook’s 2.5 billion active

22 monthly users, the overwhelming likelihood is that she would not have received any of these ads,

23 even if the advertisers had not excluded her from the selected audiences. She therefore does not,

24 and cannot, allege facts supporting a plausible inference to the contrary.

25          B.      Plaintiff’s Claims Are Barred by Section 230 of the CDA
26          Plaintiff’s claims are barred by Section 230 of the Communications Decency Act because

27 they seek to hold Facebook liable as a “publisher” of third-party content. All of Plaintiff’s claims

28 seek to impose liability on Facebook for its decisions about where (user News Feeds) and to


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 1 whom (users in audience selections made by advertisers) to deliver financial services ads created

 2 by third-party advertisers. Specifically, Plaintiff challenges Facebook’s decisions about where and

 3 to whom it will show ads created by third-party advertisers and provision of neutral tools used by

 4 these third-party advertisers. Under well-settled Ninth Circuit and other precedent, Plaintiff’s

 5 claims are barred by the CDA because a website’s editorial decisions regarding the publication of

 6 third-party content and provision of neutral tools are protected functions under the statute.

 7           Under § 230 of the CDA, “[n]o provider or user of an interactive computer service shall be

 8 treated as the publisher or speaker of any information provided by another information content

 9 provider.” 47 U.S.C. § 230(c)(1). The law bars liability “under any State or local law that is

10 inconsistent with this section,” id. § 230(e)(3). Through § 230, Congress sought to “encourage the

11 unfettered and unregulated development of free speech on the Internet, and to promote the

12 development of e-commerce.” Batzel v. Smith, 333 F.3d 1018, 1027 (9th Cir. 2003); see 47

13 U.S.C. § 230(b)(1)-(2). Accordingly, the “CDA has been interpreted to provide a ‘robust’

14 immunity” for “websites.” Goddard v. Google, Inc., 640 F. Supp. 2d 1193, 1196 (N.D. Cal. 2009)

15 (quoting Carafano v. Metrosplash.com, Inc., 339 F.3d 1119, 1123 (9th Cir. 2003)). The CDA is

16 intended to protect websites “not only from ‘ultimate liability,’ but also from ‘having to fight

17 costly and protracted legal battles.’” Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591

18 F.3d 250, 255 (4th Cir. 2009) (quoting Fair Hous. Council of San Fernando Valley v.
19 Roommates.com, LLC, 521 F.3d 1157, 1175 (9th Cir. 2008) (en banc)). Thus, courts routinely

20 apply the CDA to dismiss claims at the pleading stage. 2

21           CDA immunity attaches when (1) the defendant is “a provider or user of an interactive

22 computer service,” (2) “whom a plaintiff seeks to treat, under a state law cause of action, as a

23 publisher or speaker,” (3) “of information provided by another information content provider.”

24
     2
25   See, e.g., Kimzey v. Yelp! Inc., 836 F.3d 1263, 1266 (9th Cir. 2016) (rejecting plaintiff’s “effort
   to circumvent the CDA’s protections through ‘creative’ pleading”); Goddard, 640 F. Supp. 2d at
26 1202; Gonzalez v. Google, Inc., 282 F.Supp.3d 1150 (N.D. Cal. 2017) (granting motion to dismiss
   on CDA grounds); Herrick v. Grindr, LLC, 306 F. Supp. 3d 579, 586-87 (S.D.N.Y. 2018), aff’d,
27
   765 F. App’x 586 (2d Cir. 2019), cert. denied, 140 S. Ct. 221 (2019); Force v. Facebook, Inc., 934
28 F.3d 53 (2d Cir. 2019) (affirming dismissal based on CDA immunity).


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 1 Barnes v. Yahoo!, Inc., 570 F.3d 1096, 1100-01 (9th Cir. 2009). Applying this standard, courts

 2 regularly dismiss claims, no matter how artfully pled, that seek to hold Facebook liable as the

 3 publisher of third-party content. 3 The same result is warranted here.

 4                  1.      Facebook Is an Interactive Computer Service Provider
 5          It is beyond dispute that Facebook, a social networking platform and website, is a provider

 6 of an interactive computer service. See, e.g., Klayman, 753 F.3d at 1357 (“Facebook qualifies as

 7 an interactive computer service because it is a service that provides information to ‘multiple users’

 8 by giving them ‘computer access … to a computer server,’ 47 U.S.C. § 230(f)(2)”); Caraccioli,

 9 167 F. Supp. 3d at 1065 (same). Plaintiff does not allege otherwise.

10                  2.      Plaintiff’s Claims Treat Facebook As a Publisher Or Speaker
11          As the Ninth Circuit has held, “publication” involves “deciding whether to publish or to

12 withdraw from publication third-party content.” Barnes, 570 F.3d at 1102 (emphasis added). “A

13 provider of information services might get sued for violating anti-discrimination laws …. [W]hat

14 matters is not the name of the cause of action,” but “whether the duty that the plaintiff alleges the

15 defendant violated derives from the defendant’s status or conduct as a ‘publisher or speaker.’” Id.

16 at 1101-02; see also Chi. Lawyers’ Comm. for Civil Rights Under Law, Inc. v. Craigslist, Inc., 519

17 F.3d 666, 671-72 (7th Cir. 2008) (CDA barred claim for publishing allegedly discriminatory

18 housing ads); accord Herrick, 306 F. Supp. 3d at 590 (“[c]ourts have interpreted ‘publication’
19 capaciously to reach claims that, although pleaded to avoid the CDA, ‘implicitly require recourse

20 to that [third-party] content to establish liability or implicate a defendant’s role.’”).

21          Applying these principles, the Ninth Circuit and other courts have made clear that a

22 website’s decisions to suggest or match third-party content to users reflect editorial decisions that

23 are protected publisher functions under the CDA. See, e.g., Dyroff, 934 F.3d at 1098; Force v.

24 Facebook, Inc., 934 F.3d 53 (2d Cir. 2019). Courts have determined that the CDA applies even if

25

26
   3
     See, e.g., Klayman v. Zuckerberg, 753 F.3d 1354, 1357 (D.C. Cir. 2014); Caraccioli v.
27 Facebook, Inc., 167 F. Supp. 3d 1056, 1065-66 (N.D. Cal. 2016); Force v. Facebook, Inc., 934

28 F.3d 53 (2d Cir. 2019); Cross v. Facebook, Inc., 14 Cal. App. 5th 190, 206 (2017); Pennie v.
   Twitter, Inc., et al., 281 F. Supp. 3d 874, 891-92 (N.D. Cal. 2017).

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 1 those decisions are challenged as discriminatory, as Plaintiff does without basis here. See Sikhs

 2 for Justice “SFJ”, Inc. v. Facebook, Inc., 144 F. Supp. 3d 1088, 1090, 1095 (N.D. Cal. 2015)

 3 (CDA applied to claims predicated on content removal even though Facebook allegedly “was

 4 motivated solely by unlawful discrimination”; “[T]he act that Defendant allegedly conducted in a

 5 discriminatory manner is the removal of the SFJ Page in India,” and “removing content is

 6 something publishers do”); Darnaa, LLC v. Google, Inc., No. 15-CV-03221-RMW, 2016 WL

 7 6540452, at *8 (N.D. Cal. Nov. 2, 2016) (CDA barred claim based on content removal as such

 8 claim “seeks to hold defendants liable for ‘an action that is quintessentially that of a publisher,’

 9 regardless of defendants’ alleged motive”).

10          Here, Plaintiff alleges that third-party advertisers create financial services ads and select

11 audiences for the ads, and that, within those audience selections, Facebook uses an algorithm to

12 deliver ads by determining which ads are most likely to be interesting to those users. According to

13 Plaintiff, the algorithm allegedly results in financial services ads being shown only to men and

14 younger people or to more men and younger people than to women and older people. All of

15 Plaintiff’s claims therefore turn on Facebook’s decisions about which third-party content is shown

16 to which users, within the audiences selected by advertisers, which binding precedent makes clear

17 is conduct protected by the CDA.

18          Ad Delivery Algorithm. There is no question that Plaintiff’s claims based on Facebook’s
19 ad delivery algorithm treat Facebook as a “publisher” of third-party content. As the Ninth Circuit

20 has held, a website that uses “features and functions, including algorithms,” to analyze user

21 interests and “recommend[]” third-party content based on those interests, is “acting as a publisher

22 of others’ content” under the CDA. Dyroff, 934 F.3d at 1098.

23          In Dyroff, the plaintiff brought claims against a social networking website that allowed

24 users to join groups and interact with each other on a variety of topics. Id. at 1094–95. The

25 website “recommended groups for users to join, based on the content of their posts and other

26 attributes, using machine-learning algorithms,” and sent “email notification[s]” to users when

27 other users posted content to a group. Id. at 1095. In “a heroin-related group,” the plaintiff’s son

28 posted asking where he could purchase heroin, received “email notification” of a response to his


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 1 post, and “connected off the site” to purchase heroin that caused his death. Id. The mother sued,

 2 claiming that the website was responsible for her son’s death because it “facilitated illegal drug

 3 sales” by, among other things, “steer[ing] users to additional groups dedicated to the sale and use

 4 of narcotics” and “sen[ding] users alerts to posts within groups that were dedicated to the sale and

 5 use of narcotics.” Id. at 1095–98. The Ninth Circuit affirmed dismissal of the claims, holding that

 6 the website’s use of “features and functions, including algorithms,” to analyze user interests and

 7 recommend third-party content based on those interests, are protected “publisher” functions. Id.

 8          The Second Circuit, in Force v. Facebook, reached the same conclusion in rejecting similar

 9 claims challenging Facebook’s use of algorithms to recommend third-party content based on user

10 interests, which the plaintiffs argued meant Facebook had assisted Hamas in terrorist attacks by

11 recommending Hamas-related content to users. The Force court found “no basis in the ordinary

12 meaning of ‘publisher,’ the other text of Section 230, or decisions interpreting Section 230, for

13 concluding that an interactive computer service is not the ‘publisher’ of third-party information

14 when it uses tools such as algorithms that are designed to match that information with a

15 consumer’s interests.” 934 F.3d at 66 (emphasis added). The court held that such algorithms

16 reflect “editorial decisions regarding third-party content that interactive computer services have

17 made since the early days of the Internet,” including “where on their sites [] particular third-party

18 content should reside and to whom it should be shown.” Id. (emphasis added).
19          This case is no different. Facebook’s use of an algorithm to make decisions about which

20 third-party content to show to which users is a protected function under the CDA.

21          Audience Selection Tools. There is also no question that Plaintiff’s claims based on
22 Facebook’s provision of audience selection tools, which Plaintiff admits need not be used at all,

23 and, if they are used, can be used with all ads and not just financial services ads, is also a protected

24 function. Courts consistently have held that a website’s provision of tools allowing advertisers to

25 target their ads to particular audiences is a traditional publisher function protected by the CDA,

26 including with respect to Facebook. See, e.g., Force, 934 F.3d at 65–66 (holding that Facebook’s

27 “allow[ing] advertisers to target ads to its users who are likely most interested in those ads” is a

28 protected publisher function under CDA); Pennie v. Twitter, Inc., 281 F. Supp. 3d 874, 891 (N.D.


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 1 Cal. 2017) (“provision of neutral tools, including targeted advertising” CDA protected); Gonzalez

 2 v. Google, Inc., 282 F. Supp. 3d 1150, 1167 (N.D. Cal. 2017) (same); Roommates, 521 F.3d at

 3 1169 (tools allowing users “to specify whether they will or will not receive emails” from others

 4 “by means of user-defined criteria” would be protected, even though such tools “might help some

 5 users exclude email from other users of a particular race or sex”) (emphasis added).

 6                  3.      Plaintiff’s Claims Are Based on Third-Party Content
 7          All of Plaintiff’s claims seek to hold Facebook liable for editorial decisions about where

 8 and to whom financial services ads created by third-parties should be shown on Facebook.

 9 Binding precedent dictates that neither the ad delivery algorithm nor the audience selection tools

10 transforms Facebook into a creator or developer of third-party content for CDA purposes.

11          Ad Delivery Algorithm. Facebook’s ad delivery algorithm does not render Facebook a
12 creator or developer of allegedly discriminatory third-party financial services ads under the CDA

13 because, as Plaintiff admits, the algorithm applies to all ads, not just financial services ads, and is

14 designed to match those ads with users who are interested in them. See FAC ¶ 34 (describing

15 algorithm as applying to ads, “including but not limited to advertisements for financial services”);

16 id. ¶ 64 (“The purpose of this algorithm is to optimize an advertisement’s audience and the

17 advertiser’s goals by showing the advertisement preferentially to the users Facebook believes will

18 maximize [] advertisement views; [] clicks and engagement with the ads; and [] sales generated by
19 clicks on the advertisement.”). The algorithm does not contribute to or modify the content in any

20 way and Plaintiffs do not allege otherwise. Its use does not make Facebook a content creator.

21          Any argument by Plaintiff to the contrary is foreclosed by binding precedent. In Dyroff,

22 the Ninth Circuit held that a website’s use of “features and functions, including algorithms,” to

23 recommend content based on user “posts and other attributes” were publisher functions, not

24 “content in and of themselves,” and thus did not transform the website into a creator or developer

25 of third-party content it recommended to users through algorithms. Dyroff, 934 F.3d at 1095,

26 1097–98 (defendant website “recommended groups for users to join, based on the content of their

27 posts and other attributes, using machine-learning algorithms”).

28          Likewise, the Second Circuit in Force rejected the plaintiffs’ argument that “Facebook’s


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 1 algorithms ‘develop’ Hamas’s content by directing such content to users who are most interested

 2 in Hamas and its terrorist activities.” Force, 934 F.3d at 68. The court held that Facebook’s

 3 “algorithms take the information provided by Facebook users and ‘match’ it to other users—again,

 4 materially unaltered—based on objective factors applicable to any content, whether it concerns

 5 soccer, Picasso, or plumbers. Merely arranging and displaying other’s content to users of

 6 Facebook through such algorithms—even if the content is not actively sought by those users—is

 7 not enough to hold Facebook responsible as the ‘develop[er]’ or ‘creat[or]’ of that content.” Id. at

 8 70; accord Gonzalez, 335 F. Supp. 3d at 1173 (“Google’s use of an algorithm that aggregates user

 9 and video data to make content recommendations across YouTube [] does not turn Google into an

10 ‘information content provider’ with respect to the videos themselves”).

11          The same is true here. Facebook’s ad delivery algorithm makes decisions about which

12 third-party ads to show to which users based on objective factors applicable to all types of ads, and

13 therefore does not render Facebook a creator or developer of that third-party content.

14          Audience Selection Tools. Facebook’s audience selection tools likewise do not render
15 Facebook a creator or developer of allegedly discriminatory third-party financial services ads

16 because, as Plaintiff admits, these tools apply to all ads, not just financial services ads, have lawful

17 purposes, and are only used for unlawful purposes, according to Plaintiff, if advertisers change the

18 default settings of the age and gender tools or use an LAL seed audience that intentionally skews
19 “disproportionately male or younger.” FAC ¶¶ 39-40 (describing age/gender tools); id. ¶ 58

20 (describing LAL).

21          These are exactly the type of “neutral tool[]” protected by the CDA. Roommates, 521 F.3d

22 at 1171. Courts uniformly have held that the use of such neutral tools by third parties does not

23 transform a publisher into a creator or developer of content created by those third parties. Id. at

24 1168, 1172. This is true “even if the users committed their misconduct using” such “tools.” Id. at

25 1169 n.24; see Kimzey, 836 F.3d at 1270 (a “‘neutral tool’ operating on ‘voluntary inputs’ ...

26 [does] not amount to content development or creation”).

27          For example, in Carafano, a dating website provided users with a “detailed questionnaire”

28 that included multiple-choice questions where “members select[ed] answers ... from menus


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 1 providing between four and nineteen options” in creating their profiles. 339 F.3d at 1121. The

 2 plaintiff argued that these menus included “sexually suggestive” phrases that facilitated the

 3 creation of a defamatory impersonated profile. Id. The Ninth Circuit held that “[d]oubtless, the

 4 questionnaire facilitated the expression of information by individual users,” but the “selection of

 5 the content was left exclusively to the user” and thus it was a neutral tool protected by the CDA.

 6 Id. at 1124.

 7           Similarly, in Goddard, the plaintiff challenged Google’s provision of a “Keyword Tool”

 8 that “suggest[ed] the phrase ‘free ringtone’” to advertisers, claiming that “the suggestion of the

 9 word ‘free,’ when combined with Google’s knowledge ‘of the mobile content industry’s

10 unauthorized charge problems,’ makes the Keyword Tool ‘neither innocuous nor neutral.’” 640 F.

11 Supp. 2d at 1197. The court rejected this argument, holding that “[l]ike the menus in Carafano,

12 Google’s Keyword Tool is a neutral tool. It does nothing more than provide options that

13 advertisers may adopt or reject at their discretion.” Id. at 1198. 4

14           The same principle applies here. Facebook’s provision of neutral tools available for use

15 with all types of ads does not render Facebook a creator or developer of content if those tools are

16 used by advertisers to target financial services ads in ways Plaintiff claims are discriminatory.

17           Finally, Plaintiff alleges that Facebook “encourages” advertisers to use audience selection

18 tools in a discriminatory manner. See, e.g., FAC ¶ 43. As discussed below, infra at 20-23, these
19 allegations are based on misleading quotes taken out of context from materials on Facebook’s

20 website and should not be credited. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). But even if

21 Plaintiff could allege facts showing that Facebook encouraged advertisers to use audience

22 selection tools in ways Plaintiff claims are discriminatory, which it did not, that would not defeat

23 CDA immunity. See La Park La Brea A LLC v. Airbnb, Inc., 285 F. Supp. 3d 1097, 1107 (C.D.

24 Cal. 2017) (holding that website “must have done more than merely encourage[d] the creation of

25

26   4
     See also, e.g., Jurin v. Google Inc., 695 F. Supp. 2d 1117, 1123 (E.D. Cal. 2010) (same);
   Gonzalez v. Google, Inc., 282 F. Supp. 3d 1150, 1168 (N.D. Cal. 2017) (holding that “Google’s
27 targeted ad algorithm” was protected by the CDA as a “neutral tool[]”); Hill v. StubHub, Inc., 727

28 S.E.2d 550, 562 (N.C. Ct. App. 2012) (pricing tool for tickets that suggested prices above that
   allowed by law was “a prototypically ‘neutral tool’”).

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 1 the challenged conduct” to lose CDA immunity); Jones v. Dirty World Entm’t Recordings LLC,

 2 755 F.3d 398, 414 (6th Cir. 2014) (citing Roommates and expressly declining to adopt

 3 “encouragement test of immunity under the CDA”). Instead, Plaintiff would have to allege that

 4 Facebook required advertisers to engage in such alleged discrimination. See Opperman v. Path,

 5 Inc., 84 F. Supp. 3d 962, 986-87 (N.D. Cal. 2015) (recognizing that Jones “adopted the Ninth

 6 Circuit’s reasoning in Roommates.com” that to forfeit CDA immunity, a website “must have

 7 required another to create that content” (emphasis added)); Airbnb, 285 F. Supp. 3d at 1107

 8 (same). Plaintiff does not, and cannot, allege any such thing here.

 9          C.      Plaintiff Fails to State a Claim Under the Unruh Act or § 51.5
10                  1.      The Unruh Act and § 51.5 Do Not Apply Extraterritorially
11          The plain text of the Unruh Act and § 51.5 limits their geographical scope. See Cal. Civ.

12 Code §§ 51(b), 51.5; Archibald v. Cinerama Hawaiian Hotels, Inc., 73 Cal.App.3d 152, 159

13 (1977) (“[The Unruh Act] by its express language applies only within California.”); Loving v.

14 Princess Cruise Lines, Ltd., No. CV 08-2898 JFW AJWX, 2009 WL 7236419, at *8 (C.D. Cal.

15 Mar. 5, 2009) (“It is well-settled that the Unruh Act applies only within California.”). For this

16 reason, courts routinely dismiss Unruh Act claims against websites, including Facebook, by

17 plaintiffs outside of California. See, e.g., Ebeid v. Facebook, Inc., No. 18-CV-07030-PJH, 2019

18 WL 2059662, at *7 (N.D. Cal. May 9, 2019) (dismissing Arizona plaintiff’s Unruh Act claim);
19 Warner v. Tinder Inc., 105 F. Supp. 3d 1083, 1099 (C.D. Cal. 2015) (dismissing Florida plaintiff’s

20 Unruh Act claim). Plaintiff alleges that she lives in Washington, D.C. and therefore cannot state a

21 claim under the Unruh Act and § 51.5.

22          The California choice of law clause in Facebook’s Terms of Service does not change that

23 result. Gravquick A/S v. Trimble Navigation Int'l Ltd., 323 F.3d 1219, 1223 (9th Cir. 2003)

24 (“When a law contains geographical limitations on its application… courts will not apply it to

25 parties falling outside those limitations, even if the parties stipulate that the law should apply.”);

26 see also, e.g., O'Connor v. Uber Techs., Inc., 58 F. Supp. 3d 989, 1005–07 (N.D. Cal. 2014); In re

27 Yahoo! Inc. Customer Data Sec. Breach Litig., No. 16-MD-02752-LHK, 2017 WL 3727318, at

28 *35 (N.D. Cal. Aug. 30, 2017).


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 1                  2.       Plaintiff Does Not, And Cannot, Plead Any Intentional Discrimination
                             By Facebook
 2
            “[A] plaintiff seeking to establish a case under the Unruh Act must plead and prove
 3
     intentional discrimination.” Koebke v. Bernardo Heights Country Club, 36 Cal. 4th 824, 854
 4
     (2005). Section 51.5 claims likewise require intentional discrimination. Long v. Playboy Enters.
 5
     Int’l, Inc., 565 F. App’x 646, 647-48 (9th Cir. 2014). 5 To demonstrate discriminatory intent,
 6
     Plaintiff must plead (and ultimately prove) that Facebook “adopted [an allegedly discriminatory
 7
     practice] to accomplish discrimination on the basis of [a protected characteristic].” Koebke, 36
 8
     Cal. 4th at 854; id. at 853 (statutory damages provisions “reveal[] a desire to punish intentional
 9
     and morally offensive conduct”). Plaintiff alleges no facts whatsoever, nor could she, showing
10
     any intentional discrimination by Facebook against users.
11
            Ad Delivery Algorithm. Plaintiff’s own allegations show that Facebook has no incentive,
12
     let alone intent, to discriminate against women or older persons in ad delivery. Plaintiff alleges
13
     that the purpose of the ad delivery algorithm is to deliver ads to users who want to view, click on
14
     and engage with, or purchase the product or service being advertised. FAC ¶ 64 (“[t]he purpose of
15
     [the] algorithm is to optimize an advertisement’s audience and the advertiser’s goals by showing
16
     the advertisement preferentially to the users Facebook believes will maximize Awareness [user
17
     views], Consideration [user clicks and engagement], or Conversion [user purchases]”). Plaintiff
18
     further alleges that “Facebook wants advertisements to be as ‘relevant’ as possible to its users so
19
     that users will spend more time on Facebook and allow Facebook to sell and place more paid
20
     advertisements on Facebook.” Id. ¶ 43. The only plausible inference to draw from these
21
     allegations is that Facebook’s intent is to show ads to users who will find them relevant and who
22
     will view, click/engage, and purchase the products and services being advertised—regardless of
23
     their age and gender.
24
            Moreover, while Plaintiff claims, without any factual support, that the algorithm causes
25

26
   5
     Although § 51.5 is not formally a part of the Unruh Act, California courts have held that the
27 liability analysis is the same. See Semler v. Gen. Elec. Capital Corp., 196 Cal. App. 4th 1380,

28 1404 (2011) (“[T]he analysis under Civil Code section 51.5 is the same as the analysis we have
   already set forth for purposes of the [Unruh Civil Rights] Act.”).

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 1 financial services ads to be delivered “disproportionately to persons who fall into the age and

 2 gender demographic profile that Facebook’s algorithm believes is the most relevant audience for

 3 the advertisement,” id. ¶ 68 (emphasis added), Plaintiff does not, and cannot, allege that “the age

 4 and gender demographic profile” that the algorithm believes is “the most relevant audience” for

 5 financial services ads is male and younger persons. In other words, Plaintiff does not allege any

 6 facts whatsoever to support an inference that Facebook intends the algorithm to show financial

 7 services ads to more men than women, or to more younger people than older people, or even that

 8 the algorithm has such an effect.

 9          Even if Plaintiff were able to allege that the algorithm has such effect, which she cannot,

10 this would amount to, at most, a disparate impact theory of liability which is not cognizable under

11 the Unruh Act or § 51.5. Turner v. Ass’n of Am. Med. Colls., 167 Cal. App. 4th 1401, 1408-10

12 (2008) (“the Unruh Act does not extend to practices and policies that apply equally to all

13 persons”); see also Koebke, 36 Cal. 4th at 854 (“[a] disparate impact analysis or test does not

14 apply to Unruh Act claims”); Greater Los Angeles Agency on Deafness, Inc. v. Cable News

15 Network, Inc., 742 F.3d 414, 426 (9th Cir. 2014) (dismissing Unruh Act claim by hearing-

16 impaired plaintiffs based on “policy of displaying online video programming without closed

17 captioning [which] applied equally to all CNN.com visitors”); Cullen v. Netflix, Inc., 880 F. Supp.

18 2d 1017, 1024 (N.D. Cal. 2012) (Unruh Act “claim cannot be based solely on the disparate impact
19 of Netflix’s policies on hearing-impaired individuals”); Earll v. eBay Inc., 2012 WL 3255605, at

20 *5 (N.D. Cal. Aug. 8, 2012) (dismissing Unruh Act claim based on “a facially neutral verification

21 process with a disparate impact on the deaf community”); Belton v. Comcast Cable Holdings,

22 LLC, 151 Cal. App. 4th 1224, 1237 (2007) (dismissing Unruh Act claim that practice

23 “disproportionately and adversely impacts blind people”).

24          Audience Selection Tools. Plaintiff acknowledges, as she must, that audience selection
25 tools are available for use with all ads, not just financial services ads, and, according to Plaintiff,

26 result in discrimination only if third-party advertisers change default settings on the age and gender

27 tools or use certain types of customer lists for the LAL tool. FAC ¶¶ 75, 39-40, 58. That some

28 advertisers may use these neutral tools in ways Plaintiff claims are discriminatory, in violation of


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 1 Facebook’s antidiscrimination policy which expressly prohibits discrimination on its platform

 2 including through use of audience selection tools, does not come close to showing any intent by

 3 Facebook to discriminate against users. See e.g., Turner, 167 Cal. App. 4th at 1408-1410 (“Unruh

 4 Act does not extend to practices and policies that apply equally to all persons.”); Earll, 2012 WL

 5 3255605, at *5 (dismissing Unruh Act claim where “allegations describe a facially neutral policy”

 6 and thus did not “demonstrate intentional discrimination”); Ring Decl., Exhibits A & B

 7 (Facebook’s antidiscrimination policy).

 8           Plaintiff’s claim that Facebook “encourages” advertisers to use the age and gender tools in

 9 discriminatory ways is based on selective and misleading quotations from materials on Facebook’s

10 website that simply describe how these neutral, self-serve tools can be used in a variety of

11 contexts. For example, Plaintiff quotes “Blueprint” materials that explain to advertisers: “If you

12 want, you can choose to reach out to only men or only women,” for products like bridal dress

13 shops and beard grooming businesses. FAC ¶ 45 (emphasis added). Those materials also state

14 that a winemaker might use age targeting because “there might be a minimum age for people you

15 reach out to.” Ring Decl., Exhibit C at 21. Likewise, Plaintiff quotes language from the video

16 entitled “How to Choose an Audience for Your Facebook Ad,” id., at 16-19, asking advertisers if

17 their customers are “often of a certain age or gender.” In fact, the majority of this video focuses

18 on two different examples of targeting, 6 neither of which involves age or gender targeting, much
19 less targeting of ads for “non-credit-related financial services.” FAC ¶ 85; Ring Decl., Exhibit C

20 at 18. Likewise, none of the general “tips” in the help-center material “4 Tips for Selecting Your

21 Ad Audience” says anything about excluding users based on age or gender for “non-credit-related

22 financial services.” Ring Decl., Exhibit C at 23.

23           Plaintiff also points to an “audience meter” that changes from red to yellow to green as an

24 audience becomes more targeted, and alleges that the meter may change from yellow to green if an

25 advertiser “eliminates persons who are older than 40 from the audience” or “eliminates women.”

26

27   6
     The first example suggests that a fruit market may want to advertise to an audience interested in
28 health, fitness, and cooking. The second example suggests that a surf shop would want to advertise
   to people who live nearby, who have active hobbies, or who name surfing as an interest.

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 1 FAC ¶ 52. But the meter simply reflects an estimate of an audience’s size and reach, not whether

 2 users in the selected audience are interested in the ad. Ring Decl., Exhibit C at 23-24. As a result,

 3 the meter might also turn from yellow to green if an advertiser eliminates users in California or

 4 users who are interested in dogs. The audience meter, on its face, simply does not reflect the kind

 5 of information that Plaintiff claims it does; it is entirely irrelevant to the claims here.

 6          Plaintiff also perversely asserts that Facebook’s efforts to combat discrimination through

 7 its recent development of “classifiers” designed to identify ads that are “likely to be credit,

 8 housing, or employment related” means that Facebook “has specifically known every time” an

 9 advertiser might have created a credit-related ad. FAC ¶¶ 82-83. Plaintiff further asserts, with no

10 factual basis, that Facebook “knew” how these ads were targeted and “took no action to stop this

11 practice in spite of its knowledge that these ads might violat[e] various … laws.” Id. These

12 conclusory assertions do not demonstrate that Facebook “knew” that allegedly discriminatory

13 advertising was occurring, and certainly do not demonstrate that Facebook intended for advertisers

14 to engage in any discriminatory advertising. Facebook’s implementation of additional technical

15 measures that attempt to prevent the misuse of audience selection tools in connection with

16 housing, employment, and credit ads does not demonstrate that Facebook intends for advertisers to

17 use those tools to unlawfully discriminate with respect to all other types of ads. Indeed, Plaintiff’s

18 baseless assertions boil down to an argument that Facebook should have also included financial
19 services ads in the new ad creation flow, and that Facebook’s “failure” to do so somehow

20 demonstrates intent. But as the Ninth Circuit has held, “knowledge” that unlawful conduct is

21 “substantially likely” to occur “and a failure to act upon that knowledge” is insufficient to

22 demonstrate intentional discrimination as a matter of law. Cable News Network, 742 F.3d at 427.

23                  3.      Plaintiff Does Not, And Cannot, Plead That Facebook Engaged In Any
                            Unlawful Conduct
24
            The Unruh Act and § 51.5 “prohibit[] only unreasonable, arbitrary, or invidious
25
     discrimination, not differential treatment based on actual characteristic differences or differences
26
     in needs of users.” Sunrise Country Club Ass’n v. Proud, 190 Cal. App. 3d 377, 380-81 (1987).
27
     “Invidious discrimination is the treatment of individuals in a manner that is malicious, hostile, or
28


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 1 damaging.” Javorsky v. W. Athletic Clubs, Inc., 242 Cal. App. 4th 1386, 1404 (2015). The

 2 “fundamental purpose of the [Unruh Act] is the elimination of anti-social discriminatory

 3 practices—not the elimination of socially beneficial ones.” Sargoy v. Resolution Trust Corp., 8

 4 Cal. App. 4th 1039, 1049 (1982).

 5          There is nothing “unreasonable, arbitrary, or invidious” or “malicious, hostile, or

 6 damaging” about using an algorithm to deliver ads based on user interests or providing tools that

 7 allow them to select audiences based on their own market experience. As discussed above,

 8 Plaintiff does not allege any facts showing that the ad delivery algorithm shows financial services

 9 ads to more men than women and/or to more younger people than older people because of the age

10 and gender of users. And Plaintiff admits that the audience selection tools are available for use

11 with all types of ads, not just financial services ads, and allegedly result in discrimination only if

12 advertisers, not Facebook, chose to use them in allegedly discriminatory ways.

13          Moreover, although Plaintiff’s claim here is limited to financial services ads, Plaintiff’s

14 underlying legal theory sweeps far more broadly. Plaintiff would have the Unruh Act and § 51.5

15 prohibit any and all advertising on the basis on any protected characteristic. Advertisers could be

16 sued for choosing to place ads for retirement communities in AARP or women’s exercise apparel

17 in Women’s Health, even though neither type of conduct can be said to rest on unreasonable,

18 arbitrary, or invidious discrimination. Neither the text nor the purpose of the Unruh Act or § 51.5
19 support Plaintiff’s overbroad theory. Cf. Javorsky, 242 Cal. App. 4th at 1395 (differential

20 treatment “may be reasonable, and not arbitrary, in light of the nature of the enterprise or its

21 facilities, legitimate business interests … and public policy”); Morsa v. Facebook, Inc., 77 F.

22 Supp. 3d 1007, 1013 (2014) (“targeted advertising” “has been practiced as long as markets have

23 been in operation”); see also OpenTV, Inc. v. Netflix Inc., 76 F. Supp. 3d 886, 893 (N.D. Cal.

24 2014) (“The concept of gathering information about one’s intended market and attempting to

25 customize the information then provided is as old as the saying, ‘know your audience.’”).

26          Unlike comparable statutory schemes where the California legislature explicitly addressed

27 advertising and the potential for discrimination in advertising—e.g., the California Fair

28 Employment and Housing Act, Cal. Gov’t Code §§ 12940(d) (employment “publication[s]”) &


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 1 12955(c) (housing “advertisements”)—the Unruh Act and § 51.5 have no comparable provisions.

 2 Instead, both laws prohibit only “unreasonable, arbitrary, or invidious discrimination” that is

 3 intentional and “morally offensive.” See Koebke, 36 Cal. 4th at 853 (quoting Harris v. Capital

 4 Growth Inv’rs XIV, 52 Cal. 3d 1142, 1172 (1991)). It cannot be the case that the Unruh Act and

 5 § 51.5 would allow businesses to have policies and practices “based on actual characteristic

 6 differences or differences in needs of users,” but prohibit advertising based on those same

 7 differences. See Sunrise, 190 Cal. App. 3d at 380-81.

 8                  4.     Plaintiff Does Not, And Cannot, Plead Any Aiding-And-Abetting Claim
 9          Plaintiff’s aiding-and-abetting claims based on audience selection tools also fail. As an

10 initial matter, Plaintiff has not alleged an independent primary violation by any third-party

11 advertiser. See, e.g., In re VeriFone Sec. Litig., 11 F.3d 865, 870 (9th Cir. 1993) (“failure to allege

12 an independent, primary” violation “moots” claims for “aiding and abetting”). In addition, to

13 prevail on an aiding-and-abetting theory, a plaintiff must show that a defendant gave “substantial

14 assistance or encouragement” to the primary violator, and also that the defendant “acted with the

15 intent of facilitating the commission of that tort.” Casey v. U.S. Bank Nat’l Ass’n, 127 Cal. App.

16 4th 1138, 1144, 1146 (2005) (emphasis added); see also Bergstein v. Stroock & Stroock & Lavan

17 LLP, 236 Cal. App. 4th 793, 810 (2015) (same). Plaintiff does not, and cannot, come close to

18 meeting that standard. Facebook has “do[ne] no more than provid[e its] usual, legitimate service”
19 to advertisers. That some advertisers may misuse the service does not amount to substantial

20 assistance or encouragement. Schulz v. Neovi Data Corp., 152 Cal. App. 4th 86, 94 (2007); see

21 also Emery v. Visa Int’l Serv. Ass’n, 95 Cal. App. 4th 952, 963-966 (2002).

22          D.      Plaintiff’s D.C. Law Claims Should Be Dismissed Because Plaintiff Agreed
                    That California Law Would Apply
23
            Plaintiff has an active Facebook account. FAC ¶ 15; Declaration of Nicholas Wong
24
     (“Wong Decl.”) ¶¶ 2, 11. When creating her Facebook account, Plaintiff agreed to Facebook’s
25
     Terms of Use, then referred to as the Statement of Rights and Responsibilities (“SRRs”), a binding
26
     contract that governs the relationship between Plaintiffs and Facebook. Wong Decl. ¶¶ 2-6.
27
     Plaintiff could not have signed up for a Facebook account without agreeing to the Terms of Use.
28


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 1 Plaintiff also agreed to be bound by updates to the Terms of Use. See Wong Decl. ¶ 4.

 2 Facebook’s Terms of Use contain a clause providing that California law will govern any claims

 3 arising out of or related to the Terms of Use or Facebook, without regard to conflict of law

 4 provisions. Wong Decl. ¶ 10; FAC ¶ 13, ¶ 135. Plaintiff therefore has agreed to bring any claim

 5 against Facebook under California law. Indeed, Plaintiff alleges that “Facebook’s Terms of

 6 Service require all [putative class members] to enforce any disputes related to Facebook’s

 7 products under California law, including the Unruh Act.” FAC ¶ 142.

 8          Facebook’s California choice of law clause is enforceable and requires dismissal of

 9 Plaintiff’s D.C. law claims. In a diversity case like this, California law governs whether this

10 choice of law clause is enforceable. See Atl. Marine Const. Co. v. U.S. Dist. Court for W. Dist. of

11 Tex., 571 U.S. 49, 64 (2013). In California, a choice of law clause “‘generally will be enforced

12 unless’ the party asserting the law of an alternate state ‘can establish both that the chosen law is

13 contrary to a fundamental policy’ of the alternate state and that the alternate state ‘has a materially

14 greater interest in the determination of the particular issue.’” Palomino v. Facebook, Inc., No. 16-

15 CV-04230-HSG, 2017 WL 76901, at *3 (N.D. Cal. Jan. 9, 2017) (enforcing choice of law clause

16 in Facebook Terms of Service).

17          Plaintiff cannot meet that burden because Plaintiff does not identify any conflict between

18 California and D.C. law, and there is none. Like the Unruh Act, the D.C. Human Rights Act
19 (“DCHRA”) has territorial limitations—it applies only to public accommodations physically

20 located in the District of Columbia. See Freedom Watch, Inc. v. Google, Inc., 368 F. Supp. 3d 30,

21 39–40 (D.D.C. 2019) (dismissing DCHRA claim against Facebook). So this is not a case where

22 applying California law would conflict with another state’s public policy on the grounds that

23 “California has no law or policy equivalent” to the other state’s law. Compare In re Facebook

24 Biometric Info. Privacy Litig., 185 F. Supp. 3d 1155, 1169 (N.D. Cal. 2016). Rather, California

25 and D.C. law reflect the same policy: neither jurisdiction has chosen to regulate conduct that

26 occurs outside its borders. See Sullivan v. Oracle Corp., 51 Cal. 4th 1191, 1203–04 (2011) (states

27 whose employment law did not apply extraterritorially had no interest in having law apply to work

28 in California).


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 1          Nor is there any conflict between the DCCPPA and California law. “California’s

 2 consumer protection laws have been recognized as ‘among the strongest in the country.’”

 3 Palomino, 2017 WL 76901, at *4. To the extent that California consumer protection law “affords

 4 different rights and remedies” than D.C. law, several courts in this District have held that this does

 5 not create a fundamental public policy conflict and have dismissed consumer protection claims

 6 against Facebook under the laws of other states. See Williams v. Facebook, Inc., 384 F. Supp. 3d

 7 1043, 1055–57 (N.D. Cal. 2018) (dismissing New York consumer protection claim because

 8 “[d]ifferences in the particulars of the consumer statutes [of California and New York] are not

 9 enough, however, and do not represent a fundamentally different policy”); Palomino, 2017 WL

10 76901, at *4 (rejecting conflict with New Jersey consumer protection law and enforcing clause in

11 Facebook Terms of Service). This Court should do the same.

12          E.      Plaintiff Fails to State a Claim Under D.C. Law
13          Even assuming D.C. law could apply, Plaintiff fails to state any claim under the DCHRA

14 for multiple independent reasons. First, the DCHRA applies only to a “place of public

15 accommodation” with a physical location in the District of Columbia. See U.S. Jaycees v.

16 Bloomfield, 434 A.2d 1379, 1381 (D.C. 1981). In Jaycees, the D.C. Court of Appeals held that a

17 defendant organization was not a “place of public accommodation” subject to the DCHRA

18 because the organization itself “[did] not operate from any particular place within the District of
19 Columbia.” Id. Other courts have applied this ruling in dismissing DCHRA claims against

20 Facebook. Freedom Watch, 368 F. Supp. 3d at 39. This Court should do the same because

21 Plaintiff does not and cannot allege that Facebook, or any of the third-party advertisers, operate

22 from any particular location within D.C.

23          Second, Plaintiff has not alleged any ad “which indicates that the full and equal enjoyment

24 . . . of a place of public accommodation will be unlawfully refused” or “that an individual’s

25 patronage of, or presence at, a place of public accommodation is objectionable, unwelcome,

26 unacceptable, or undesirable” based on age or gender. D.C. Code § 2-1402.31(a)(2). Plaintiff has

27 not identified any financial services ad “indicating” that the financial services being advertised

28 would be unlawfully denied to anyone or that customers of a certain age or gender are unwelcome.


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 1 Ragin v. New York Times Co., 923 F.2d 995, 999 (2d Cir. 1991), cert. denied, 502 U.S. 821 (1991)

 2 (interpreting “indicates” for purpose of FHA). None of the ads that Plaintiff cites says anything

 3 about denying services, let alone based on age or gender. Nor do the “Why am I seeing this ad?”

 4 statements say anything about denying anyone financial services.

 5          Third, for the reasons set forth above, supra at 20-23, Plaintiff has failed to allege facts

 6 showing that Facebook provided neutral audience selection tools with the intent that advertisers

 7 would use them “wholly or partially for a discriminatory reason.” D.C. Code § 2-1402.31.

 8 Plaintiff’s derivative aiding and abetting claims fail for the same reason. Under D.C. law, a

 9 defendant aids or abets the DCHRA violations of a third-party only if the defendant “associates

10 himself with the venture, participates in it as something he wishes to bring about, and seeks by his

11 action to make it succeed.” Wallace v. Skadden, Arps, Slate, Meagher & Flom, 715 A.2d 873, 888

12 (D.C. 1998) (quotation omitted). Plaintiff has not, and cannot, allege any such thing here.

13          Plaintiff also fails to state any claim under the DCCPPA. D.C. Code § 28-3904(e) and (f).

14 To state a claim under these provisions, Plaintiff must allege a “misrepresentation as to a material

15 fact which has a tendency to mislead and failure to state a material fact if such failure tends to

16 mislead.” Grayson v. AT & T Corp., 15 A.3d 219, 251 (D.C. App. 2011) (quotation omitted).

17 “[A] claim of an unfair trade practice [under the DCCPPA] is properly considered in terms of how

18 the practice would be viewed and understood by a reasonable consumer.” Pearson v. Chung, 961
19 A.2d 1067, 1075 (D.C. 2008). Plaintiff points to three alleged misrepresentations by Facebook,

20 none of which comes close to meeting this standard.

21          First, Plaintiff claims that “Why am I seeing this ad” statements (WAIST) mislead

22 consumers into believing that discriminatory conduct is lawful. See, e.g., FAC ¶ 171. But no

23 reasonable consumer would read these statements, which provide information to users about why

24 they are seeing a particular financial services ad, as endorsing discrimination against other users.

25 This is especially true given that Plaintiff simultaneously alleges that these same statements

26 express an unlawful preference for purposes of their DCHRA claims. In fact, the WAIST

27 statements support neither allegation, but in any event, Plaintiffs cannot have it both ways.

28          Second, Plaintiff claims that Facebook misled consumers by stating “There is no place for


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 1 discrimination on Facebook.” FAC ¶ 174. A company’s statement that it does not violate the law

 2 is not misleading merely because a plaintiff alleges that the company is violating the law. E.g.,

 3 Omnicare, Inc. v. Laborers Dist. Council Const. Indus. Pension Fund, 575 U.S. 175, 186 (2015)

 4 (as a matter of law, company’s statement that “we believe we are obeying the law” cannot be

 5 misleading merely because plaintiff alleges that “belief turned out to be wrong” because it “was in

 6 fact violating” the law). Facebook’s Terms of Service also clearly disclosed its practices. 7

 7 Whether those practices are discriminatory is being litigated in this Court.

 8           Third, Plaintiff claims that Facebook’s choice of law clause is deceptive. FAC ¶¶ 176-177.

 9 This argument conflates the distinct legal concepts of what law applies to a dispute and whether

10 that law provides a particular plaintiff with a particular cause of action in that dispute. Simply put,

11 the geographical limits on the Unruh Act and § 51.5 do not make it false or misleading for

12 Facebook to say in its Terms that California law “will govern” any disputes, simply because

13 Plaintiff’s counsel wants to assert claims under those California laws. O’Connor, 58 F. Supp. 3d

14 at 1005 (“a contractual choice of law provision that incorporates California law presumably

15 incorporates all of California law—including California’s presumption against extraterritorial

16 application of its law”).

17           Finally, even assuming Plaintiff’s passing reference to the DCCPPA making it unlawful to

18 “violate other laws, such as the DCHRA” could pass as a “clear articulat[ion] [of] D.C. Code § 28-
19 3905(k)(1) as an independent basis for a claim,” Rose v. Wells Fargo Bank, N.A., 73 A.3d 1047,

20 1054 n.11 (D.C. App. 2013), Plaintiff also cannot state a DCCPPA claim on this basis. As

21 explained above, Plaintiff fails to plead a violation of the DCHRA or any other predicate violation

22 of D.C. law. See Grayson, 15 A.3d at 250-51 (dismissing where plaintiff failed to allege any

23 “legally viable claims” under sections 28–3904(a), (e), (f), (h), (r)(2) and (r)(5) of the DCCPPA).

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     7
    “We allow advertisers to tell us things like their business goal, and the kind of audience they
26 want to see their ads (for example, people between the age of 18-35 who like cycling)… [W]e
   provide general demographic and interest information to advertisers (for example, that an ad was
27 seen by a woman between the ages of 25 and 34 who lives in Madrid and likes software

28 engineering) to help them better understand their audience.” Wong Decl. Ex. D at 19 (Terms of
   Service).

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 1 IV.   CONCLUSION
 2       The Court should dismiss Plaintiff’s First Amended Complaint with prejudice.

 3 DATED: May 8, 2020                      MUNGER, TOLLES & OLSON LLP

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 5
                                           By:         /s/ Rosemarie T. Ring
 6                                              ROSEMARIE T. RING
                                           Attorneys for Defendant Facebook, Inc.
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